                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:97cr184-13


UNITED STATES OF AMERICA, )
                              )
            Plaintiff,        )
                              )
            vs.               )
                              )                             ORDER
WENDELL ANTHONY JACKSON,)
                              )
            Defendant.        )
______________________________)


       THIS MATTER is before the Court upon the Defendant’s Affadavit In Support Of A

Motion To Proceed In Forma Pauperis, filed 28 April 2006.

       An appeal to the Fourth Circuit requires a filing and docketing fee of $450, pursuant to

the enactment of the Deficit Reduction Act of 2005. The Clerk for the Fourth Circuit directed

Defendant to file a CJA 23 Affidavit with the district court if Defendant was unable to pay the

filing fee. After reviewing the CJA 23 Financial Affidavit in support of the application to

proceed In Forma Pauperis, the Court concludes that the Defendant is unable to pay the filing fee.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion to Proceed In Forma

Pauperis is GRANTED.

                                                Signed: May 17, 2006




      Case 3:97-cr-00184-FDW           Document 624        Filed 05/17/06      Page 1 of 1
